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   Domb Declaration

    Exhibit 15, Part 2
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           1:15-cv-02739-LAP                 Document 27-16 Filed 09/08/15 Page 2 of 20
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                                                          Con ursada: PETERSEN ENERGIA, S.A.U.
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                                                               IC      Concurso Ordinario n° 405/2012
                Won. Reg


          AL JUZGADO DE LO MERCANTIL NUMERO 3 DE MADRID


La ADMINISTRACION CONCURSAL designada en el procedirniento de Concurso
Voluntario de acreedores de la entidad PETERSEN ENERGIA, S.A.U. (en adelante,
"PESA"), que se tramita ante este Juzgado bajo el n° de Autos 405/2012, ante el mismo
comparezco y con el debido respeto y consideraciOn, DIGO:


I.- Con fecha 2 de septiembre de 2014 se dict6 Auto, notificado con fecha 12 de
septiernbre de 2014, por el que se apertura la fase de liquidaciOn del presente
procedimiento concursal, concediendose a esta administraciOn concursal el plazo de quince
(15) dias para que presente un plan para la realizaciOn de los bienes y derechos integrados
en la masa activa del concurso de conformidad con lo establecido en el articulo 148.1 de la
Ley Concursal (LC).


II.- Que por medio del presente escrito, se acompana un Plan para la realization de los
bienes y derechos integrados en la masa activa del concurso, junto con los documentos que
alli se referencian.


En su virtud,
SUPLICAMOS AL JUZGADO: Que tenga por presentado este escrito, tenga por hechas
las manifestaciones que en el se contienen, y en sus meritos tenga por presentado el
referido plan de liquidaciOn, y tras los thimites oportunos, se dicte Auto declarando
aprobado dicho Plan, al cual habran de atenerse las operaciones de liquidaciOn de la masa
activa.


Por ser Justicia que pido, en Madrid a 6 de octubre de 2014.

LA ADMINISTRACION CONCURSAL                                                                  AUXILIAR DELEGADO
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PLAN DE LIQUIDACION PARA LA REALIZACION DE LOS BIENES Y
DERECHOS INTEGRADOS EN LA MASA ACTIVA DE LA MERCANTIL
PETERSEN ENERGIA, S.A.U.




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El Plan de liquidacion consta de los siguientes apartados:


1.Antecedeutes.

2. De la solicitud de apertura de la liquidacion efectuada por el deudor.

3. Plan de liquidacion.

3.1.   Situaci6n actual de los activos de la sociedad concursada.
3.2.   Realizacion de los Derechos Indemnizatorios.
       3.2.1. Justification.
       3.2.2. Procedimiento de yenta.
       3.2.3. Disposition por la adjudicataria de los Derechos Indemnizatorios.
               3.2.3.1. Transaction.
               3.2.3.2. Cesion.
       3.2.4. Exencion de responsabilidad.
       3.2.5. Supuesto de inexistencia de interesados en la adquisicion de los
               Derechos Indemnizatorios. Inicio del procedimiento de reclamation
               de los Derechos Indemnizatorios. Financiacion.
       3.2.6. Imposibilidad de monetization de los Derechos Indemnizatorios.

3.3.   Realizacion del resto de activos.

       3.3.1. Inversiones Financieras a corto plazo.
       3.3.2. Tesoreria.

4. Pago de los creditos a los acreedores.




Anexos

Anexo I.- Informe provisional ex articulo 75 de la LC.
Anexo II.- Convenio de Solution Amigable y Avenimiento de Expropiacion.
Anexo III.- Balance.




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1. Antecedentes.


Tal y como esta administraciOn concursal reflejO en su Informe Provisional ex articulo 75
de la Ley Concursal que acompaciamos como Anexo I, y al cual nos remitimos
integramente por obrar en autos, la empresa Petersen Energia S.A.0 (PESA) tuvo como
principal inversion y activo: Participaciones en empresas asociadas: 58.603.606
acciones de YPF, S.A., domiciliada en Argentina, las cuales estaban admitidas a cotizaciOn

oficial en el mercado continuo de las Bolsas de Nueva York y Buenos Aires.


La situaciOn de insolvencia de la sociedad concursada trae causa de la declaraciOn de interes
pUblico por el Gobierno de Argentina de las actividades relacionadas con hidrocarburos,
declarando sujeto a expropiaciOn el 51% de las acciones y votos de YPF, S.A. que se
encontraban en poder de REPSOL o sus sociedades controladas o vinculadas, hecho que
se produjo en el mes de abril de 2012.


Dicha expropiaciOn no vino acompafiada del cumplimiento de la normativa vigente en
Argentina y de los pactos estatutarios existentes en YPF, S.A., es decir, mediante la
realizaciOn de una oferta publica de adquisiciOn de acciones (OPA) de las que era titular la
sociedad concursada. Este hecho referenciado supuso que la sociedad concursada perdiera
la totalidad de sus acciones de YPF, S.A., como consecuencia de la negativa de las
entidades financieras acreedoras a refinanciar la deuda, declarando vencido anticipadamente
los contratos de financiaciOn y ejecutando las garantias prendarias sobre acciones de su
titularidad. Si el Gobierno Argentino hubiera cumplido con las obligaciones legales y
estatutarias, la sociedad concursada podria haber pagado con el precio que debia recibir, sin
lugar a dudas, a la totalidad de sus acreedores.


Como consecuencia de lo anterior, se incorpor6 al Inventario de la sociedad concursada un
activo que se corresponde con los "Derechos Indemnizatorios"1 que le asisten a la
sociedad concursada. La justificaciOn y valoraciOn de esos potenciales Derechos
Indemnizatorios, cuya existencia no ha sido cuestionada durante la tramitaciOn de este
procedimiento concursal, y sujeto a la reclamaciOn y reconocimiento ante los Tribunales u
Organismos competentes, se encuentran detallados en el Informe presentado por la
administraciOn concursal. Las valoraciones incluidas en dicho Informe de la administraciOn

1 Por "Derechos Indemnizatorios" nos remitimos a lo detallado en el informe emitido por la
Administracion Concursal que se acompaila como Anexo I al presente documento.

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concursal no son en ningUn caso vinculantes para quienes participen en el proceso de
liquidacion, pues las mismas fueron realizadas en el marco del procedimiento concursal y
para estos Unicos efectos, debiendo ser estos quienes realicen sus propias valoraciones
sobre la existencia, cuantificacion y exito de la/s reclamacion/es que pudieran o debieran
ejercitarse contra la Republica de Argentina.


En este sentido es de destacar el hecho de que el pasado 27 de febrero de 2014 la Republica
Argentina suscribi6 el "Convenio de Solucion Amigable y Avenimiento de
Expropiaciem", que se acompalia como Anexo II.


Resulta obligado por tanto proceder a monetarizar el principal activo de la sociedad
concursada en relacion con los Derechos Indemnizatorios que entendemos asisten a la
sociedad concursada en el mejor interes para la masa activa, y asi hacer frente a las deudas
que mantiene con sus acreedores.


2. De la solicitud de apertura de la liquidacion efectuada por el deudor.


Habiendose solicitado por el deudor concursado con fecha 17 de julio de 2014 la apertura
de la fase de liquidacion, mediante Auto de fecha 2 de septiembre de 2014 se declaro
aperturada la misma.


Las razones esgrimidas por la sociedad concursada para solicitar la apertura de La
liquidacion y con las que esta Administracion Concursal muestra su conformidad son las
siguientes:
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A la vista de lo anteriormente expuesto, de los documentos existentes y de la informaciOn
recabada de los acreedores, se ha constatado por la administraciOn concursal la
imposibilidad de alcanzar un convenio entre la sociedad concursada y sus acreedores.


3. Plan de liquidacion.


De forma previa se hace constar que la tramitacion de esta fase de liquidaciOn no seria
necesaria si la totalidad de los acreedores reconocidos renunciaran o desistiesen de sus
derechos de cobro (176.1.5° de la LC).


3.1. Situacion actual de los activos de la sociedad concursada.


Los bienes y derechos que integran la masa activa del concurso de PESA a la fecha del
presente plan de liquidacion, y que seran objeto de analisis de forma separada en los
diferentes apartados que componen el mismo, se encuentran incorporados en el Anexo I y
en el Anexo III que se acompaila al presente plan, y por tanto forman parte de la masa
activa.




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Aunque el presente plan de liquidaciOn preve un procedimiento rapid° de monetization de
los bienes y derechos que conforman la masa activa del concurso, pudiera ser que la
realizaciOn de los bienes y derechos integrados en la masa activa del concurso se
prolonguen por tiempo superior al afio desde la apertura de la fase de liquidaciOn. Por ello,
para ese supuesto, la administration concursal solicita la habilitaciOn expresa de este
Juzgado para superar el indicado plazo, la cual se entendera otorgada con la aprobaciOn del
plan de liquidaciOn, si bien trimestralmente, se ira informando al Juzgado de la evolution
del proceso de liquidacion de conformidad con lo dispuesto en el articulo 152 de la LC.


3.2      Realization de los Derechos Indemnizatorios


3.2.1. Justification.


En este apartado se determina el procedimiento de enajenaciOn de los Derechos
Indemnizatorios que asisten a la sociedad concursada.


El proceso que se propone consiste en la yenta o cesiOn a terceros de los Derechos
Indemnizatorios, o en su caso de la cesiOn de los derechos econOrnicos que pudieran
generar esos Derechos Indemnizatorios, que le corresponden a la sociedad concursada
habida cuenta la inexistencia de tesoreria suficiente con la que poder hacer frente al/los
litigio/s que sean necesarios interponer frente al Estado Argentine.


Con caracter previo a la presentacion de este plan de liquidacion la sociedad concursada y
la administration concursal, han contactado con diversas entidades (con sede en Londres y
Nueva York) especializadas en la adquisicion de reclamaciones frente a terceros o en la
financiacion de reclamaciones, habiendo mostrado interes y quedando a la espera de
estudiar la presentaciOn de posibles ofertas una vez se haya aprobado el plan de liquidacion.


Teniendo en cuenta las peculiaridades del principal activo a liquidar, no resulta procedente
que este plan de liquidaciOn establezca una amplia publicidad a terceros, siendo lo mas
apropiado que la administraciOn concursal identifique e invite a participar a todas aquellas
entidades especializadas en la adquisiciOn de este tipo de activos, pudiendo participar
igualmente cualquiera de los acreedores de la sociedad concursada, en igualdad de
condiciones.


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3.2.2. Procedimiento de yenta.


Fase 1".- Comunicacion de la aprobacion del Plan de Liquidation a posibles
interesados o candidatos.


Durante el periodo de diez (10) dias naturales siguientes a la aprobacion del Plan de
Liquidation, la administraciOn concursal remitira el Plan de Liquidation aprobado y un
calendario de las fases del proceso de liquidaciOn a posibles interesados o candidatos.


Fase 2".- Due Diligence o periodo de analisis por los interesados o candidatos.


Durante el periodo de treinta (30) dias naturales siguientes al transcurso del plazo de la fase
anterior, los interesados o candidatos que hayan mostrado su interes podran analizar, en las
oficinas de la administration concursal, la information relativa a los Derechos
Indemnizatorios. De forma previa a la realizaciOn del proceso de Due Diligence la
administracidn concursal remitira y suscribira un Acuerdo de Confidencialidad.


En esta fase la administration concursal pondra a su disposition la siguiente information:


1.- Documentacion relativa al proceso concursal 405/2012 seguido ante el Juzgado de lo Mercantil
mimero 3 de Madrid.
2.- Contratos de Financiacion (incluidos contratos de garantias) relativos a la adquisicion de las
acciones de YPF, S.A.; comunicaciones de resolution por vencimiento anticipado y documentation
relativa a la ejecuci6n de las garantias prendarias sobre las acciones de YPF, SA. propiedad de la
sociedad concursada.
3.- Estatutos Sociales de YPF, SA.
4.- Documentaci6n relativa a los Decretos del Gobierno Argentino por las que se adopto la toma de
control de YPF, S.A., asi como otra documentation mencionada en el informe de la administration
concursal.




Al mismo tiempo la administration concursal y la antigua representaciOn social de la
sociedad concursada vinculada a la misma en el ano 2012, estaran a disposition de los
posibles adquirentes bien presencialmente o mediante conferencias telefonicas, para
informar de la situation de la sociedad concursada y solventar y/o aclarar cualquier
cuestidn que surja en relation con la informaciOn que se le entrega para su

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Fuse 3".- Presentation de ofertas.


Durante el periodo de cinco (5) Bias naturales siguientes al transcurso del plazo de la fase
anterior, los interesados o candidatos podrin presentar su oferta conjunta de adquisiciOn de
los Derechos Indemnizatorios (la "Oferta Conjunta") en sobre cerrado ante el Juzgado de
lo Mercantil mimero 3 de Madrid incluyendo como referenda la siguiente: "Oferta
Conjunta de adquisicion de los Derechos Indemnizatorios — Petersen Energia

Inversora, S.A.U. — Autos 523/2012 y Petersen Energla, S.A. U. — Autos 405/2012".

Una vez precluido el plazo de presentaciOn de ofertas, los interesados deberan comunicar
las ofertas presentadas a la administraciOn concursal mediante correo electronic°.


    La Oferta:


    > Se redactara en Castellano, y debera venir fechada y firmada por el representante
       legal del interesado con facultades suficientes, debiendo identificar de igual modo
        el/los titular/es dltimo/s propietario/s del capital social del interesado;


    ➢ Debera acompaiiarse de un acta de manifestaciones, otorgada ante fedatario
        public° espafiol donde, sin condiciOn alguna, se declare:


                 1.Declarar conocery aceptar en todos sus term nos el contenido del plan de liquidacidn de
                 PESA;
                 2. Declarar conocery aceptar las conditions de la yenta de los Derechos Indemnizatolios,
                 el pogo del precio y la formalkacion de los documentos que se descliben en el plan de
                 liquidation;
                 3. Declarar conocery aceptar que la transmision se realka sin garantia de evil° de lal s
                 reclamation/es que se interpongal n,y del resu/tado que pueda obtenerse;
                 4. Declarar que la presentacion de su oferta se realka, bajo su riesgo y ventura, habiendo
                 realkado el anOhlrir, revision o estudio legal, economic°, fiscal, financiero, o de cualquier
                 otra indole, de la existencia de los Derechos Indemnkatolios y viabilidad Para su
                 reclamation que ha considerado necesalia, con renuncia por tales motivos a cualquier
                 reclamacidn contra la administration concursal, sociedad concursada, sus asesores,
                 empresas de su mismo grupo, consejeros, directivos, empleados, sociosyl o accionistas;


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                 5. Declarar gue ban analkado el impacto de la transmision sabre los Derechos
                 Indemnkatorios y sobre la posibilidad de accionar con base a los mismos una ve.z
                 realkada la transmision, con renuncia por tales motivos a cualguier reclamacion contra la
                 administration concursal, sociedad concursada, sus asesores, empresas de su mismo gri0o,
                 consejeros, directivos, empleados, socios y/ o accionistas, derivada de la ejecucion del
                 presente Plan de Liguidacidn;
                 6. Declarar conocer y aceptar, como reguirito esencial Para la adjudication, gue
                 formalkada la transmision de los Derechos Indemnkatorios el interesado deberd
                 intelponer las acciones gue correipondan fi-ente al Estado Argentino en reclamacidn de los
                  Derechos Indemnkatorios2


        Las anteriores manifestaciones seran igualmente reproducidas en la escritura de
        transmision de los derechos indemnizatorios como en la escritura de cesion de
        creditos futuros, siendo contenido esencial de las mismas.


    > Indicara el precio de la oferta conforme a las opciones que se indicarin a
        continuacion;


    > Indicara que la oferta es irrevocable e incondicional, no estando sujeta a la
         obtenciOn de financiacion, ni a ninguna ulterior aprobaciOn o condicion;


    > Indicara la fecha en la que se formalizara la operacion sin que en ningtin caso pueda
         exceder del plazo de quince (15) desde la notificaciOn de la adjudicaciOn.


    > Se acompailara documento de compromiso por parte del titular Ultimo del
         interesado que presenta la oferta, mediante el cual en caso de que resultase
         adjudicatario asume la obligacion de garantizar de forma solidaria y a primer
         requerimiento las obligaciones economicas que se asumen por la formalizacion de
         la escritura de transmision de los Derechos Indemnizatorios y de la escritura de
         cesion de creditos futuro. En caso de que el titular Ultimo del interesado sea un
         fondo podra otorgarse garantia por su sociedad gestora.




 La declaraciOn contenida en el manifestacion n° 6 no resultara necesaria en caso de presentarse una oferta
dentro de la opcion A.

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    > Indicara una direcciOn de correo electronic° donde la admini.straciOn concursal
       pueda remitir las comunicaciones necesarias para el buen desarrollo del proceso de
       liquidaciOn.


❖ Precio:


Las ofertas deberan indicar como precio a abonar a la sociedad concursada alguna de las
siguientes opciones:


       "Opcion A":


       1.- Precio por importe minim° de 15.000.000 de euros mas los impuestos
       legalmente repercutibles. Esta oferta no incluye la obligaciOn de abonar precio
       variable a la sociedad concursada.


       "Opcion B":


       1.- Precio fijo por importe de 10.000.000 de euros o superior mas los impuestos
       legalmente repercutibles.


       2.- Precio variable o `success fee" de un 20°/o sobre el importe total que se obtenga de
       la reclamaciOn (ya sea dineraria o no dineraria) mas los impuestos legalmente
       repercutibles.


       "Opcion C":


       1.- Precio fijo por importe de 7.500.000 de euros o superior mas los impuestos
       legalmente repercutibles.


        2.- Precio variable o "success fee" de un 25% sobre el importe total que se obtenga de
        la reclamaciOn (ya sea dineraria o no dineraria) mas los impuestos legalmente
        repercutibles.




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        "Option D":


        1.- Precio fijo por importe de 5.000.000 de euros o superior mas los impuestos
        legalmente repercutibles.


        2.- Precio variable o "success fee" de un 30% sobre el importe total que se obtenga de
        la reclamaciOn (ya sea dineraria o no dineraria) mas los impuestos legalmente
        rep ercutibles.


Fase 4".- Ofertas de mejora.


Una vez finalizado el plazo de recepciOn de ofertas y notificadas las recibidas por el
Juzgado a la administraciOn concursal, se notificara conjuntamente a todos los oferentes el
resultado de las ofertas recibidas y se les conceders un plazo igual de siete (7) dias naturales
para que puedan presentar ofertas de mejora.


Dichas ofertas de mejora seran presentadas en sobre cerrado ante el Juzgado de lo
Mercantil N° 3 de Madrid incluyendo como referencia la siguiente: "Oferta de mejora
para la adquisicion conjunta de los Derechos Indernnizatorios — Petersen Energia
Inversora, S.A.U. — Autos 523/2012 y Petersen Energia, S.A.U. — Autos 405/2012".


Aquellos que quieran concurrir a la fase de presentacion de ofertas de mejora deberan
aportar un aval a primer requerimiento por importe de 100.000,00€, en favor de la sociedad
concursada, que garantice la formalization de las operaciones descritas en el presente plan
de liquidation para el caso de que resulte adjudicataria y no formalice las mismas. Los
avales entregados por los candidatos en el tramite de presentacion de ofertas de mejora
seran devueltos a quienes no hayan sido adjudicatarios en el momento de la formalization
de la adjudication.


Fase 5".- Adjudication y distribution del precio.


Una vez finalizado el plazo de reception de las ofertas de mejora y notificadas las recibidas
por el Juzgado a la administration concursal, se notificara conjuntamente a todos los




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oferentes el resultado de las ofertas recibidas y la adjudicataria, asi como la distribution del
precio entre PESA y PEISA dada la oferta conjunta presentada.


Seri adjudicataria de los Derechos Indemnizatorios aquella que presente la mejor oferta,
siendo preferente la oferta que se refiera a la opcion "A" sobre la "B"; la "B" sobre la "C";
la "C" sobre la "D". Si hubieren varias ofertas dentro de una misma opcion sera elegida
aquella que acuerde satisfacer una mayor retribuciOn de precio fijo.


En el caso de que la adjudicataria no llegue a materializar la compraventa resultari
adjudicataria aquella entidad que haya presentado la segunda mejor oferta, pudiendo en ese
caso ejecutar el aval a primer requerimiento entregado, por incumplimiento de la obligaciOn
de adquirir y como penalization.


Fase 6".- Formalization de las operaciones.


Con catheter previo a la formalizaciOn de las operaciones de transmisiOn, la administraciOn
concursal comunicari iru-nediatamente al Juzgado el adjudicatario para el conocimiento de
los acreedores de la sociedad concursada.


        Escritura de transmision de los Derechos Indemnizatorios.


Los Derechos Indemnizatorios se transmitirin en escritura ptiblica ante fedatario public°
espanol, con sujecion a la legislation espanola y a la Jurisdiction de los Tribunales de
Madrid (Espana). Todos los gastos e impuestos derivados de la formalization de la
operaciOn serin de cuenta de la entidad adjudicataria.


El pago del precio "fijo" se realizari en el momento del otorgamiento de la escritura
ptiblica de yenta, mediante la entrega de cheque bancario nominativo a favor de la sociedad
concursada, debiendo haber sido emitido el mismo por una entidad financiera espanola o
entidad financiera con sucursal en Espana.


El pago del precio "variable", en su caso, se hari de forma simultinea al momento en el
que el adquirente reciba la contraprestacion.




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        Escritura de cesion de creditos futuros de la parte proporcional que le
        corresponde a la sociedad concursada pare el abono del precio variable3.


De forma simultinea a la escritura pablica de yenta de los Derechos Indemnizatorios, la
adjudicataria otorgara escritura pablica de cesion de la parte proporcional que le
corresponde a la sociedad concursada de los derechos de creditos futuros que pueda
obtener de la reclamacion (ya sea dineraria o no dineraria) derivado de las acciones que se
obliga a interponer frente al Estado Argentino en reclamaciOn de los Derechos
Indemnizatorios, bien por el resultado de un procedimiento judicial o arbitral, acuerdo
extrajudicial, transacciOn o cualesquiera otra forma de solucion convencional, conforme a
la oferta seleccionada.


La cesion de creditos futuros se formalizara en escritura pablica ante fedatario public°
espafiol, con sujecion a la legislacion espanola y a la Jurisdiccion de los Tribunales de
Madrid (Espana). Todos los gastos e impuestos derivados de la formalizacion de la
operaciOn seran de cuenta de la entidad adjudicataria/cedente.


De igual modo, el titular ultimo del adjudicatario/cedente debera garantizar de forma
solidaria y a primer requerimiento las obligaciones econOmicas que se asumen por la
formalizaciOn de la escritura de cesion de creditos futuros.


3.2.3. Disposicion por la adjudicataria de los Derechos Indemnizatorios{.


3.2.3.1. Transaccion.


La adjudicataria de los Derechos Indemnizatorios no debera contar con la autorizacion de
la administraciOn concursal parar alcanzar un acuerdo con el Estado Argentino, siempre y
cuando el resuhado de la transaccion sea proporcionalmente distribuido entre la sociedad
concursada y la adjudicataria, conforme a la oferta adjudicada y sea cual sea la forma en la
que se materialice el acuerdo.




3 Este apartado no aplica a la oferta adjudicada dentro de la "OpciOn A"
4
  Este apartado no aplica a la oferta adjudicada dentro de la "OpciOn A"

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3.2.3.2 Cesion.


Los Derechos Indemnizatorios que son objeto de transmisiOn no podrin cederse a
terceros, ni directa ni indirectamente, sin contar con la autorizaciOn de la administraciOn
concursal.


Si como resultado de la operacion de cesicin se mantiene a la sociedad concursada en la
misma situaciOn inicial, conforme a lo establecido en el presente plan de liquidaciOn, la
administraciOn concursal no podri negarse a conceder la autorizaciOn siempre y cuando el
precio obtenido por la transmisiOn, directa o indirecta, de los Derechos Indemnizatorios
que se obtenga, sean distribuidos proporcionalmente entre la sociedad concursada y la
cedente, conforme a la oferta adjudicada. El precio que debe satisfacerse a la sociedad
concursada deberi abonarse mediante transferencia a la cuenta corriente de la sociedad
concursada intervenida por la administraciOn concursal.


El importe recibido se aplicari al precio variable pendiente de abono conforme a la
escritura de transmisiOn de los Derechos Indemnizatorios.


3.2.4. Exencion de responsabilidad.


Por la transmisiOn de los Derechos Indemnizatorios, ni la sociedad concursada ni la
administraciOn concursal, otorgarin garantia de exito alguna ante la reclamaciOn de los
mismos. No seri exigible, y por tanto se renuncia expresamente, a cualquier reclamaciOn
derivada de que por la transmisiOn de los Derechos Indemnizatorios estos se vean
perjudicados por la transmisiOn misma o por la aplicaciOn de una norma legal.



3.2.5. Supuesto de inexistencia de interesados en la adquisicion de los Derechos
Indemnizatorios. Inicio del procedimiento de reclamacion de los Derechos
Indemnizatorios. Financiacion.


En caso de que no se produzca la transmisiOn de los Derechos Indemnizatorios conforme
al presente Plan de LiquidaciOn, la administraciOn concursal estari legitimada para buscar a
interesados o candidatos que financien la interposiciOn de los procedimientos legales que



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resulten necesarios para reclamar los Derechos Indemnizatorios, poniendo en
conocimiento del Juzgado los acuerdos que se alcancen.


Si en alg-an momento durante el proceso de liquidaciOn, tras resultar infructuoso el proceso
de yenta, se recibiera alguna oferta de compra de los Derechos Indemnizatorios, la
administraciOn concursal propondra justificadamente la modificaciOn del plan de
liquidaciOn para proceder a la yenta directa de los mismos, siempre y cuando, la oferta
recibida sea mas beneficiosa que el ejercicio de las acciones en reclamaciOn de los Derechos
Indemnizatorios, y al mismo tiempo queden cubiertos los creditos contra la masa.


3.2.6. Imposibilidad de monetizacion de los Derechos Indemnizatorios.


Ante la imposibilidad de realizaciOn de los Derechos Indemnizatorios bien por la yenta a
terceros o bien por la imposibilidad de obtener financiaciOn, se ofrecera a los acreedores de
la sociedad concursada la posibilidad de adquirir los mismos en su beneficio por plazo de
30 Bias naturales. Transcurrido el mismo sin haber mostrado interes en la adquisiciOn la
administraciOn concursal estara habilitada para solicitar la conclusion del concurso por
inexistencia de bienes de la masa activa, dada la imposibilidad de reclamar al Estado
Argentine, por sus propios medios.


3.3     Realizacion del resto de activos.


3.3.1. Inversiones financieras a corto plazo.


Se corresponden con determinados importes que obran en una cuenta corriente con socios
y administradores por importe de 2.043,54€.


Al tratarse de un activo liquido no necesita ser realizado por lo que ardcamente se
procedera a su reclamaciOn para su posterior ingreso en la cuenta corriente intervenida por
la adrninistraciOn concursal.




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3.3.2. Tesoreria.


Al ser un activo liquido no necesita ser reali7ado por lo que se procedera con las cantidades
existentes al pago de los creditos concursales conforme al orden establecido en la LC.


Los saldos que se encuentran en cuentas corrientes pignoradas seran transferidos a los
acreedores privilegiados segan se indican en el informe de la administraciOn concursal para
la cancelaciOn de la deuda, en funcion del importe liquido cobrado.


4. Pago de los creditos a los acreedores.


Con el producto de la realizacion de todos los bienes y derechos no afectos al pago de
creditos con privilegio especial, y con el saldo existente en la tesoreria, se procedera al pago
de los creditos contra la masa y si el importe resultante fuera insuficiente, lo obtenido se
distribuira entre todos los acreedores de la masa por el orden de sus vencimientos.


Una vez satisfechos los creditos contra la masa se procedera al pago de los creditos con
privilegio general, por el orden establecido en el articulo 91 y, en su caso, a prorrata dentro
de cada nurnero, y una vez satisfechos se procedera al pago de los creditos ordinarios.


El pago de los creditos ordinarios no se reali7ara hasta que hayan quedado integramente
satisfechos los creditos contra la masa y los privilegiados, siendo satisfechos a prorrata;
conjuntamente con los creditos con privilegio especial en la parte en que estos no hubieren
sido satisfechos con cargo a los bienes y derechos afectos, en su caso.


El pago de los creditos subordinados se realizara una vez hayan quedado integramente
satisfechos los creditos ordinarios, por el orden establecido en el articulo 92, y en su caso, a
prorrata dentro de cada numero.


Atendiendo a los creditos contra la masa que se puedan generar, la administracion
concursal deducira de la masa activa los bienes y derechos necesarios para satisfacer los
creditos contra esta, debiendo tenerse en consideraciOn, entre otros, los siguientes:


    •   Gastos de disoluciOn de la Sociedad e inscripciOn en el Registro Mercantil.


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    •   Tarnbien ha de hacerse deducciOn de los gastos previstos para las tareas de
        liquidaciOn y custodia de bienes y papeles del concursado, en los plazos previstos en
        la Ley.



En su virtud,
SUPLICO AL JUZGADO: Que teniendo por presentado este escrito, se sirva admitirlo,
tenga por hechas las rnanifestaciones que en el se contienen, y en sus rneritos tenga pot
presentado el Plan de liquidaciOn de la entidad PETERSEN ENERGIA, S.A.U. de
acuerdo con lo previsto en el articulo 148 de la LC.


Por ser de Justicia que se pide, en Madrid, a 6 de octubre de 2014.


LA ADMINISTRACION CONCURSAL                                                         ADO
CON FUNCIONES DE LIQUIDACION




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                                                                                                            10th Floor

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    County of San Francisco
    State of California

    Date: September 3, 2015


    To whom it may concern:

    This is to certify that the attached translation from Spanish into English is an accurate
    representation of the documents received by this office.

    The documents are designated as:

             Submission of the Bankruptcy Administration to the Third Commercial Court of Madrid
              with Plan of Liquidation, dated 6 October 2014

    Ilaria Taylor, Project Manager in this company, attests to the following:

    “To the best of my knowledge, the aforementioned documents are a true, full and accurate
    translation of the specified documents.”




    Signature of Ilaria Taylor




WI-44, 6/25/2015, Rev 0
                                                                      Accurate Translation Services 24/7
